     Case 2:90-cv-00520-KJM-SCR       Document 5129       Filed 04/09/14    Page 1 of 2


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 3                          IN THE UNITED STATES DISTRICT COURTS
 4                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 5                     AND THE NORTHERN DISTRICT OF CALIFORNIA
 6           UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
 7             PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 8
 9     RALPH COLEMAN, et al.,
10                           Plaintiffs,
                                                       NO. 2:90-cv-0520 LKK DAD (PC)
11                    v.
                                                       THREE-JUDGE COURT
12     EDMUND G. BROWN JR., et al.,
13                           Defendants.
14
15     MARCIANO PLATA, et al.,                         NO. C01-1351 TEH
16                           Plaintiffs,               THREE-JUDGE COURT
17                    v.                               ORDER APPOINTING
                                                       COMPLIANCE OFFICER
18     EDMUND G. BROWN JR., et al.,

19                           Defendants.

20
21          The Court hereby appoints the Honorable Elwood Lui (Ret.) to serve, until otherwise
22 ordered, as the Compliance Officer in this case, pursuant to the Court’s February 10, 2014
23 Order. Justice Lui’s curriculum vitae is attached to this order.
24          Justice Lui shall have the status of an officer and agent of this Court. Accordingly, he
25 shall be afforded the same immunities that vest with this Court. In addition, all
26 communications between Justice Lui and this Court shall be confidential and privileged.
27          Justice Lui has agreed to serve without hourly compensation. However, Defendants
28 shall directly and in a timely manner reimburse Justice Lui for all reasonable expenses,
     Case 2:90-cv-00520-KJM-SCR     Document 5129      Filed 04/09/14   Page 2 of 2


 1 including compensation and related expenses of additional staff approved by the Court. If
 2 any payment is unduly denied or delayed, the Court may establish a registry account to
 3 facilitate payment.
 4
 5 IT IS SO ORDERED.
 6
 7
      Dated: 04/09/14
 8                                    STEPHEN REINHARDT
                                      UNITED STATES CIRCUIT JUDGE
 9                                    NINTH CIRCUIT COURT OF APPEALS
10
11
      Dated: 04/09/14
12                                    LAWRENCE K. KARLTON
                                      SENIOR UNITED STATES DISTRICT JUDGE
13                                    EASTERN DISTRICT OF CALIFORNIA
14
15
      Dated: 04/09/14
16                                    THELTON E. HENDERSON
                                      SENIOR UNITED STATES DISTRICT JUDGE
17                                    NORTHERN DISTRICT OF CALIFORNIA
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